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                                    UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                          LAREDO DIVISION



Juan Castillo                                           §
                                                        §
                       Plaintiff,                       §
                                                        §
                                                        §   Case No. 5:18-cv-00041
v.                                                      §
                                                        §
                                                        §
JLG Industries, Inc., Oshkosh Corporation and           §
Jorge Estrada                                           §
                                                        §
                                                        §
Defendants                                              §


_____________________________________________________________________

                          JOINT ADVISORY
_____________________________________________________________________

        The parties hereby jointly advise the court that they are currently available for

hearing on July 3, 11, 12, 16-19, 2019.

        Plaintiff’s counsel is available for hearing in person only on July 3, 2019 and is

available on all the other dates via teleconference.


                                                Respectfully submitted,

                                                BY: “/s/ Ronald Rodriguez”
                                                Ronald Rodriguez
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                                                ATTORNEYS FOR PLAINTIFF

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                         CERTIFICATE OF SERVICE

    I certify that a true and correct copy of the foregoing has been served on all

counsel of record through the Electronic Case Files System of the Southern District

of Texas on this June 28, 2019.

                                    “/s/ Ronald Rodriguez”
                                    Ronald Rodriguez




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